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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF OREGON
                                PORTLAND DIVISION

                                                 Case No.: 3:18-cv-1690
ROBERT MESCH,
                                                 COMPLAINT;
              Plaintiff,
                                                 FAIR DEBT COLLECTION PRACTICES
      vs.                                        ACT (15 U.S.C. § 1692a, et seq.);

SUNRISE CREDIT SERVICES, INC.,                   DEMAND FOR JURY TRIAL

              Defendant.
                                 I. INTRODUCTION

      1.      This is an action for damages brought by an individual consumer for

Defendant’s violations of the federal Fair Debt Collection Practices Act, 15 U.S.C. §

1692, et seq. (hereinafter “FDCPA”).

                                 II. JURISDICTION

      2.      Plaintiff’s claim for violations of the FDCPA arises under 15 U.S.C. §

1692k(d), and therefore involves a “federal question” pursuant to 28 U.S.C. § 1331.



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                                     III. PARTIES

       3.      Plaintiff, Robert Mesch (“Plaintiff”), is a natural person residing in Ada

County, Idaho.

       4.      Defendant, Sunrise Credit Services, Inc. (“Defendant”), is a corporation

engaged in the business of collecting debts by use of the mails and telephone. Defendant

regularly attempts to collect debts alleged due another. Defendant has purposefully

availed itself of the State of Oregon by regularly collecting from debtors there, and

jurisdiction is therefore appropriate against them in Oregon.

                           IV. FACTUAL ALLEGATIONS

       5.      Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. §

1692a(6).

       6.      Plaintiff is a “consumer” as defined by the FDCPA, 15 U.S.C. § 1692a(3).

       7.      All activities of Defendant set out herein were undertaken in connection

with the collection of a “debt,” as defined by 15 U.S.C. § 1692a(5).

       8.      Within the last year, Defendant took multiple actions in an attempt to

collect a debt from Plaintiff. Defendant’s conduct violated the FDCPA in multiple ways,

including the following.

       9.      Communicating with Plaintiff at times or places which were known or

should have been known to be inconvenient for Plaintiff, including continuing to call

Plaintiff on his cell phone after he informed Defendant in the first call that such calls

were inconvenient (§ 1692c(a)(1)).


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       10.     As a result of the aforementioned violations, Plaintiff suffered and

continues to suffer injuries to Plaintiff’s feelings, personal humiliation, embarrassment,

mental anguish and severe emotional distress.

       11.     Defendant intended to cause, by means of the actions detailed above,

injuries to Plaintiff’s feelings, personal humiliation, embarrassment, mental anguish and

severe emotional distress.

       12.     Defendant’s actions, detailed above, were undertaken with extraordinary

disregard of, or indifference to, known or highly probable risks to purported debtors.

       13.     To the extent Defendant’s actions, detailed above, were carried out by an

employee of Defendant, that employee was acting within the scope of his or her

employment.

   COUNT I: VIOLATION OF FAIR DEBT COLLECTION PRACTICES ACT

       14.     Plaintiff reincorporates by reference all of the preceding paragraphs.

       15.     The preceding paragraphs state a prima facie case for Plaintiff and against

Defendant for violations of the FDCPA.

                                 PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

Defendant for the following:

       A.      Declaratory judgment that Defendant’s conduct violated the FDCPA;

       B.      Actual damages pursuant to 15 U.S.C. 1692k;

       C.      Statutory damages pursuant to 15 U.S.C. § 1692k;


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      D.      Costs, disbursements and reasonable attorney’s fees for all successful

claims, and any unsuccessful claims arising out of the same transaction or occurrence as

the successful claims, pursuant to 15 U.S.C. § 1692k; and,

      E.      For such other and further relief as may be just and proper.

               PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY



                                              Dated this 21st day of September, 2018.


                                                  By:_s/Joshua Trigsted ______
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